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 8                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF CALIFORNIA
 9
                                 OAKLAND DIVISION
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11   EPIC GAMES, INC.                         Case No. 4:20-cv-05640-YGR-TSH
12                      Plaintiffs Counter-
                        defendant,            [PROPOSED ORDER] GRANTING
13                                            ADMINISTRATIVE MOTION OF NON-
          v.                                  PARTY FACEBOOK, INC. TO SEAL
14   APPLE INC.,                              TRIAL EXHIBITS
                        Defendant,            Hon. Yvonne Gonzalez Rogers
15                      Counterclaimant.
                                              Trial: May 3, 2021
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                                              [PROPOSED] ORDER GRANTING ADMIN. MOT. TO
                                              FILE UNDER SEAL; NOS. 17-CV-04006, 17-CV-04191
      Case 4:20-cv-05640-YGR Document 546-2 Filed 04/30/21 Page 2 of 3




 1          Before the Court is an Administrative Motion by non-party Facebook, Inc. (“Facebook”) to

 2 seal information in certain exhibits included on the trial exhibit list of Plaintiff Epic Games, Inc.

 3 Pursuant to Civil L.R. 79-5(e)(1), Facebook submitted the declaration of Vivek Sharma (“Sharma

 4 Decl.”) in support of the Administrative Motion identifying which documents Facebook seeks to

 5 seal in their entirety, which documents Facebook seeks to redact, and the justification for sealing

 6 these materials. Having considered the Administrative Motion, and any declarations and

 7 supporting documentation, thereto, the Court finds that there are “compelling reasons” for granting

 8 the motion to seal. Ctr. for Auto Safety v. Chrysler Grp., LLC, 809 F.3d 1092, 1096 (9th Cir.

 9 2016).

10          Facebook seeks to seal two categories of information:

11          •       Internal discussions among Facebook employees regarding Facebook’s strategy for
                    negotiations with Apple regarding distribution of Facebook gaming apps, including
12                  regarding features of gaming apps that Facebook has considered but not released
                    and estimates of the impact of those features on an app’s success; and
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14          •       Internal discussions among Facebook employees regarding Facebook’s strategy
                    related to video, photo and messaging products that are not at issue in this case.
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            There are compelling reasons to seal this information because its disclosure would risk
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     competitive harm to Facebook. Disclosure of information regarding Facebook’s strategies for
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     distribution of its apps would cause Facebook harm by giving Apple and other app distributors
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     information that they could use against Facebook in future business negotiations. Sharma Decl.
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     ¶ 5. Disclosure of information regarding features of gaming products that Facebook considered
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     but did not release, and the impact of those features on the success of its product, would cause
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     Facebook competitive harm by revealing Facebook’s strategy for gaming products to potential
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     competitors. Sharma Decl. ¶ 5.
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            The Administrative Motion, as modified by the Sharma Declaration, is GRANTED and it
24
     is hereby ORDERED that the following documents and portions thereof shall be filed under seal:
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                Document or           Evidence Offered in Support of
26       Portion of Document                     Sealing                             Ruling
         Sought to be Sealed
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                                                             [PROPOSED] ORDER GRANTING ADMIN. MOT. TO
                                                             FILE UNDER SEAL; NOS. 17-CV-04006, 17-CV-04191
     Case 4:20-cv-05640-YGR Document 546-2 Filed 04/30/21 Page 3 of 3




 1           Document or     Evidence Offered in Support of
      Portion of Document               Sealing                          Ruling
 2    Sought to be Sealed
 3

 4          PX2411                  Sharma Decl. ¶ 7
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 6          PX2413                  Sharma Decl. ¶ 9
 7          PX2414                 Sharma Decl. ¶ 11
 8          PX2415                 Sharma Decl. ¶ 11
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10 IT IS SO ORDERED.

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   DATED: _____________, 2021             ________________________________
12                                        Honorable Yvonne Gonzalez Rogers
                                          United States District Judge
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                                                 [PROPOSED] ORDER GRANTING ADMIN. MOT. TO
                                                 FILE UNDER SEAL; NOS. 17-CV-04006, 17-CV-04191
